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EXHIBIT C

 
Case 1:17-cv-04327-LLS-RWL Document 72-3 Filed 12/13/17 Page 2 of 2

(1/29/16, 4:47:59 PM] Mike Dash: we have a contract

(1/29/16, 4:48:01 PM] Mike Dash: didnt u sign it?

[1/29/16, 4:48:58 PM] Konstantyn: | never seen it

(1/29/16, 4:49:11 PM] Konstantyn: Do you have a copy?

[1/29/16, 4:49:25 PM] Mike Dash: im looking

[1/29/16, 4:52:38 PM] Mike Dash: do you have a tax id number or social number
[1/29/16, 4:52:43 PM] Mike Dash: some reperesentiative number?

(1/29/16, 4:52:58 PM] Konstantyn: Yes.

(1/29/16, 4:53:02 PM] Konstantyn: 1 min

(1/29/16, 4:55:39 PM] Konstantyn: So here I'm private entrepreneur, or individual entrepreneur,
itis like a company for 1 person. The name of the company is “IP Bagaev Konstantin
Alexandrovich” and registration number is 315463300002436

(1/29/16, 4:58:23 PM] Mike Dash: sent a file to Konstantyn: Konstantyn Contractor
Agreement.pdf

(1/29/16, 4:59:31 PM] Konstantyn: | suppose we should print last page, sign it and scan ?
(1/29/16, 4:59:47 PM] Konstantyn: I'll check now what to do with it

(1/29/16, 4:59:51 PM] Mike Dash: hang on ill sign and resend

(1/29/16, 5:00:21 PM] Mike Dash: sent a file to Konstantyn: Konstantyn Contractor
Agreement.pdf

{1/29/16, 5:01:12 PM] Konstantyn: How did you do that? :)

(1/29/16, 5:01:16 PM] Mike Dash: Magic :)

[1/29/16, 5:01:27 PM] Mike Dash: there is a signature button in .pdf

(1/29/16, 5:01:45 PM] Mike Dash: click the little briefcase on top

[1/29/16, 5:01:45 PM] Konstantyn: What software has it?

[1/29/16, 5:01:47 PM] Mike Dash: Preview

(1/29/16, 5:01:50 PM] Mike Dash: on Mac

(1/29/16, 5:04:01 PM] Mike Dash: bbs

 
